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 5                                   UNITED STATES DISTRICT COURT
 6                                          DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                                 Plaintiff,  )                      Case No. 2:08-cr-00311-RLH-GWF
                                               )
10   vs.                                       )                      ORDER
                                               )
11   ARMEN PALIKYAN,                           )
     HAGOB PALIKYAN,                           )
12   ARMEN AMBARTSUMYAN,                       )
     GARY AMBARTSUMYAN,                        )
13   VAKHTANG GASPARIAN,                       )
     ARTUR AMBARTSUMYAN,                       )
14   IYAD NAZZAL, and                          )
     DANIMYAR DOSUNKULOV,                      )
15                                             )
                                   Defendants. )
16   __________________________________________)
17           This matter is before the Court on Defendant Gary Ambartsumyan’s Joinder in Joint Motion
18   to Dismiss Counts Four Through Nine of the Indictment and All Allegations Related to the
19   Aggravated Identity Theft Penalty Enhancement (Dkt. #81), filed May 13, 2009 and Defendant
20   Gary Ambartsumyan’s Joinder in Joint Reply to Opposition to Motion to Dismiss Four Through
21   Nine of the Indictment and All Allegations Related to the Aggravated Identity Theft Penalty
22   Enhancement/Opposition to Request to Vacate Evidentiary Hearing (Dkt. #87), filed May 21, 2009.
23           To date, no party has opposed the present motions and the time for opposition has expired.
24   As a result, the Court will grant the motions for joinder. Accordingly,
25           IT IS HEREBY ORDERED that Defendant Gary Ambartsumyan’s Joinder in Joint
26   Motion to Dismiss Counts Four Through Nine of the Indictment and All Allegations Related to the
27   Aggravated Identity Theft Penalty Enhancement (Dkt. #81) is granted.
28   ...
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 1          IT IS FURTHER ORDERED that Defendant Gary Ambartsumyan’s Joinder in Joint
 2   Reply to Opposition to Motion to Dismiss Four Through Nine of the Indictment and All
 3   Allegations Related to the Aggravated Identity Theft Penalty Enhancement/Opposition to Request
 4   to Vacate Evidentiary Hearing (Dkt. #87) is granted.
 5          DATED this 11th day of May, 2010.
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 7                                                 ______________________________________
                                                   GEORGE FOLEY, JR.
 8                                                 United States Magistrate Judge
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